Case 1:13-cr-00514-SOM   Document 316   Filed 03/13/18   Page 1 of 33 PageID.2389




                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )          Cr. No. 13-00514 SOM (03)
                               )          Cr. No. 13-00653 SOM (01)
           Plaintiff,          )          Civ. No. 16-00443 SOM/KJM
                               )          Civ. No. 16-00444 SOM/KJM
      vs.                      )
                               )
                               )          ORDER DENYING MOTION TO
 JOHN PENITANI,                )          VACATE, SET ASIDE, OR CORRECT
                               )          A SENTENCE BY A PERSON IN
           Defendant.          )          FEDERAL CUSTODY UNDER 28
 _____________________________ )          U.S.C. § 2255; ORDER GRANTING
                                          CERTIFICATE OF APPEALABILITY

  ORDER DENYING MOTION TO VACATE, SET ASIDE, OR CORRECT A SENTENCE
       BY A PERSON IN FEDERAL CUSTODY UNDER 28 U.S.C. § 2255;
             ORDER GRANTING CERTIFICATE OF APPEALABILITY

 I.         INTRODUCTION.

            Defendant John Penitani was convicted of drug-related

 crimes in two cases and sentenced to a total of 168 months of

 imprisonment, 5 years of supervised release, and a $200 special

 assessment.    Penitani unsuccessfully appealed and then timely

 moved for relief under 28 U.S.C. § 2255 in his two cases.

 Penitani then submitted numerous handwritten letters.             The court

 issues a single ruling applicable to all his motions.

            Although Penitani initially raised numerous claims in

 support of his motions, he ultimately restricts himself to

 arguing that his former counsel, Myles S. Breiner, had a conflict

 of interest based on Breiner’s representation of both Charles

 Foster and Penitani, and that the Assistant United States
Case 1:13-cr-00514-SOM   Document 316        Filed 03/13/18   Page 2 of 33 PageID.2390



 Attorney (“AUSA”) should have informed the court about that

 alleged conflict of interest.          The court denies the motions.

 II.        THE ISSUES BEFORE THIS COURT HAVE BEEN SIGNIFICANTLY
            NARROWED.

            After filing his § 2255 motions, Penitani himself

 mailed numerous letters to this court.              This court appointed

 counsel for Penitani and asked counsel to clarify what issues

 Penitani wanted the court to consider.              The court told Penitani

 that any issue not identified in the requested response would be

 deemed waived.    See ECF No. 249, 251.1

            On July 7, 2017, Penitani identified as issues for the

 court to adjudicate alleged ineffective assistance of counsel by

 Myles S. Breiner based on (1) Breiner’s alleged conflicts of

 interest relating to his representation of Charles Foster,

 Subrina Toomey, and Penitani; (2) Breiner’s failure to challenge

 the presentence investigation report; (3) Breiner’s failure to

 insist that certain alleged plea agreement terms be in writing;

 and (4) Breiner’s bargaining away of Penitani’s appellate rights.

 Penitani additionally identified alleged prosecutorial misconduct

 by AUSA Chris Thomas based on (1) Thomas’s failure to move to

 disqualify Breiner because of Breiner’s conflicts of interest;

 (2) Thomas’s alleged misrepresentations as to the whether



       1
       In this order, the court’s citation to the docket refers to
 documents filed in Crim. No. 13-00514 SOM, although identical
 documents are filed in Crim. No. 13-00653 SOM.

                                         2
Case 1:13-cr-00514-SOM   Document 316       Filed 03/13/18   Page 3 of 33 PageID.2391



 Penitani would receive a sentence of less than 10 years; and

 (3) Thomas’s alleged use of information in violation of a proffer

 agreement.    Finally, Penitani identified a breach of an alleged

 agreement that a sentence of less than 10 years be sought,

 judicial misconduct,2 and ineffective assistance by appellate

 counsel Pamela O’Leary Tower.          See ECF No. 255.

            After multiple hearings and live testimony with respect

 to Penitani’s motions, the court asked for supplemental closing

 argument briefs, telling the parties that any issue not raised in

 the supplemental brief would be deemed waived:

            [Y]ou are limited in your closing argument
            briefs to issues that were raised in your
            list of issues, but you are not required to
            rely on all issues raised in your list of
            issues[. I]f you do not in your closing
            argument briefs mention an issue that was on
            your list, I will deem that issue waived.

                 Mr. Penitani, do you understand what I’m
            saying? I’m kind of trying to figure out
            what really do I need to address. And there
            may--there’s already been a narrowing because
            I made your lawyer give me a list. If it’s
            not on the list, it’s not an issue. He gets
            to write briefs now. If it’s not in the
            brief, even if it’s in your list, I'm not
            going to consider it to be something I need
            to decide. Do you understand?

            THE DEFENDANT: Yeah, most of it.



       2
       Penitani withdrew the judicial misconduct claim at the
 hearing of October 3, 2017. See Transcript of Proceedings (Oct.
 3, 2017) at 3, ECF No. 275, PageID # 1717 (“THE COURT: So the
 accusation that I’m somehow conspiring to protect counsel acting
 wrongfully is withdrawn? MR. HIRANAKA: That’s correct.”).

                                        3
Case 1:13-cr-00514-SOM   Document 316       Filed 03/13/18   Page 4 of 33 PageID.2392



            THE COURT: What don’t you understand?

            THE DEFENDANT: I mean I understand.

                  . . . .

            THE COURT: . . . in any event, whatever’s in
            the brief[,] that’s all that I’m going to
            consider. Do you understand?

            THE DEFENDANT: Yes.

 Transcript of Proceedings (Dec. 19, 2017) at 38-39, ECF No. 297,

 PageID #s 1889-90.

            In his closing argument of February 9, 2018, ECF No.

 300, Penitani limited his discussion to whether Breiner had a

 conflict of interest based on his representation of both Penitani

 and Charles Foster, and whether AUSA Thomas should have brought

 that conflict of interest to the court’s attention.                 This court

 deems all other issues raised by Penitani in support of his

 § 2255 motions to have been waived.

 III.       FACTUAL BACKGROUND.

            On November 28, 2017, Drug Enforcement Administration

 Special Agents Clement B. Sze and Lauren A. Carney, Federal

 Bureau of Investigation Special Agent Grant Knorr, Breiner, and

 Lani Nakamura, Esq., testified.            See ECF No. 291.      On November

 29, 2017, Breiner and Thomas testified.              See ECF No. 292.      On

 December 1, 2017, Penitani testified.             See ECF No. 293.      Most of

 the testimony was unrelated to the issues now remaining before

 this court.    Unless specifically noted in the present order, each


                                        4
Case 1:13-cr-00514-SOM   Document 316       Filed 03/13/18   Page 5 of 33 PageID.2393



 witness testified credibly, although witnesses’ memories

 sometimes had faded.

            Breiner began representing Charles Foster in February

 2013, when Foster was in state court on drug charges.                 When

 charges related to the same drugs were brought in federal court,

 Breiner continued to represent Foster with respect to his federal

 drug charges.    See Crim. No. 13-00219, ECF No. 7; see also

 Declaration of Attorney Myles S. Breiner ¶ 2, ECF No. 278, PageID

 # 1771 (“I represented Charles Foster in the case of United

 States vs. Charles Foster, Cr. No. 13-00219 DKW . . . from

 February 2013 through August 7, 2013.”); Transcript of

 Proceedings (Nov. 28, 2017) at 92, ECF No. 305, PageID # 2015.                    A

 federal court indictment of Foster was filed on March 6, 2013.

 See Crim. No. 13-00219, ECF No. 24.            It charged that, on or about

 February 14, 2013, Foster, John Garcia IV, and Chrystyan Burke

 possessed methamphetamine with intent to distribute (Count 1);

 and possessed cocaine with intent to distribute (Count 2).                   It

 also charged Foster and Garcia with carrying a firearm during and

 in relation to the drug trafficking crimes (Count 3).                 Id.    That

 case, assigned to Senior District Judge Helen Gillmor, was the

 first of three federal criminal cases relevant to the present

 order.

            Breiner says that, “[a]t no time during my

 representation of Foster was the name of John Penitani ever


                                        5
Case 1:13-cr-00514-SOM   Document 316       Filed 03/13/18   Page 6 of 33 PageID.2394



 brought up, disclosed by Foster or discussed in any way.”                  See

 Breiner Decl. ¶ 4, ECF No. 278, PageID # 1772; accord Transcript

 of Proceedings (Nov. 29, 2017) at 107, ECF No. 306, PageID # 2198

 (“During the representation of Charles Foster by Myles Breiner,

 from February until the time that he was discharged as an

 attorney, or terminated his representation of Mr. Penitani,

 Mr. Penitani's name was not raised a single time.”)

            Breiner testified that, after Penitani’s arrest,

 Penitani gave statements to the Government on May 14 and 15,

 2013, without legal representation.            Transcript of Proceedings

 (Nov. 28, 2017) at 94, ECF No. 305, PageID # 2017.                On May 23,

 2013, Penitani was indicted along with Hien Nguyen and Sugalu

 Galu and charged with drug-related crimes, including possession

 of and conspiracy to possess with intent to distribute more than

 50 grams of methamphetamine, its salts, isomers, and salts of its

 isomers in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A).

 See Crim. No. 13-00514 SOM, ECF No. 17.              The May 2013 indictment,

 filed in the second federal criminal case relevant here, did not

 mention Foster.     Breiner first appeared on behalf of Penitani at

 his detention hearing of May 21, 2013.             See Crim. No. 13-00514

 SOM, ECF No. 14.

            About a month later, on June 20, 2013, in the third

 federal criminal case relevant here, Penitani faced another

 indictment with drug charges, this one naming him along with


                                        6
Case 1:13-cr-00514-SOM     Document 316       Filed 03/13/18   Page 7 of 33 PageID.2395



 Siaosi Mafileo, Mukusi Penitani, Salvador Maciel, Michael

 Coleman, Jacob Del Mundo Faagai, Michael Nguyeun, Julius

 Mitchell, Keschan Taylor, Robert Akolo, and Donald Seals.                    See

 Crim. No. 13-00653 SOM, ECF No. 1.              This indictment charged

 Penitani with possession of and conspiracy to distribute and

 possess with intent to distribute more than 50 grams of

 methamphetamine, its salts, isomers, and salts of its isomers in

 violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A), and

 included two counts referring to 5 grams or more of the drug.

 Id.   Breiner appeared on behalf of Penitani at his initial

 appearance in this case on June 27, 2013.                See Crim. No. 13-00653

 SOM, ECF No. 36.        A Superseding Indictment charging the same

 defendants with similar drug crimes was filed on August 22, 2013.

 See Crim. No. 13-00653 SOM, ECF No. 88.

            AUSA Thomas prosecuted all three cases.                 See Transcript

 of Proceedings (Nov. 29, 2017) at 24, ECF No. 306, PageID # 2115.

            Breiner conceded that there was some overlap in time

 with respect to his representation of Foster and Penitani.

 Transcript of Proceedings (Nov. 28, 2017) at 106, ECF No. 305,

 PageID # 2029.    That is, Breiner was representing Foster when he

 began representing Penitani in May 2013.                Breiner did not move to

 withdraw as Foster’s counsel until July 26, 2013.                  See Crim. No.

 13-00219, ECF No. 54.        On August 5, 2013, a hearing was held in

 Foster’s federal case on the motion to withdraw as counsel.                    The

                                          7
Case 1:13-cr-00514-SOM   Document 316       Filed 03/13/18   Page 8 of 33 PageID.2396



 court orally granted the motion.           Id., ECF No. 56.       A written

 order granting the withdrawal was filed on August 7, 2013.                  Id.,

 ECF No. 58.

            Breiner testified that, after Penitani was arrested,

 Penitani made inculpatory statements to the Government before he

 was represented by an attorney.        Most of the co-defendants in the

 later federal case naming him cooperated against him.                 Penitani’s

 focus was on reducing his sentence, not asserting his innocence.

 See Transcript of Proceedings (Nov. 28, 2017) at 95-98, ECF No.

 305, PageID #s 2018-21; Transcript of Proceedings (Nov. 29, 2017)

 at 15, 23, 28, ECF No. 306, PageID # 2106, 2114, 2119.

            To that end, Penitani participated in a number of

 meetings, or “debriefings,” with Government agents to provide

 them with information concerning his drug distribution

 activities.    AUSA Thomas says that Penitani had seven debriefings

 with Government agents at which he was represented by Breiner or

 his associate, Lani Nakamura, plus two meetings before Breiner

 began representing him.      Special Agent Sze put the total number

 of debriefings at eight, with Breiner or Nakamura being present

 at six of the eight.      Penitani testified that there were more

 than five meetings and possibly more than ten meetings.                 Breiner

 testified that there were eleven or twelve debriefings.

 Transcript of Proceedings (Nov. 29, 2017) at 9, ECF No. 306,

 PageID # 2100.


                                        8
Case 1:13-cr-00514-SOM     Document 316       Filed 03/13/18   Page 9 of 33 PageID.2397



            Although Breiner and AUSA Thomas at first told the

 court that Penitani began discussing Foster in a debriefing in

 May 2014, they both corrected themselves, testifying that

 Penitani began discussing Foster on October 1, 2013.                   Transcript

 of Proceedings (Nov. 29, 2017) at 24, 96, ECF No. 306, PageID

 #s 2115, 2187; see also ECF No. 279, PageID # 1801 (Report of

 Investigation prepared by Special Agent Clement B. Sze on October

 2, 2013, memorializing that Penitani told Government agents on

 October 1, 2013, that Penitani had supplied Foster with both

 methamphetamine and cocaine); see also Transcript of Proceedings

 (Nov. 28, 2017) at 16-17, ECF No. 305, PageID #s 1939-40 (Special

 Agent Sze testifying about the first time Penitani discussed

 Foster).   Breiner and Nakamura were present at the debriefing on

 October 1, 2013.        Transcript of Proceedings (Nov. 28, 2017) at

 20, ECF No. 305, PageID # 1943.

            On October 1, 2013, Penitani was shown pictures of

 various people and identified Foster as a person to whom he had

 been selling drugs.        Breiner said he was “surprised” by that

 connection.    Transcript of Proceedings (Nov. 29, 2017) at 18-19,

 ECF No. 306, PageID #s 2109-10; ECF No. 279, PageID # 1801.

 Breiner believed that he did not have a conflict of interest at

 that time because the drugs Penitani was talking about were not

 the drugs involved in the charges against Foster.                  Transcript of

 Proceedings (Nov. 29, 2017) at 25, ECF No. 306, PageID # 2116.


                                          9
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 10 of 33 PageID.2398



             Breiner testified that, in a debriefing on May 16,

 2014, Penitani further discussed having supplied Foster with

 drugs. Id. at 21-22, PageID #s 2112-13.           Penitani testified about

 Foster to a grand jury.      Transcript of Proceedings (Nov. 29,

 2017) at 27, ECF No. 306, PageID # 2118.            On May 22, 2014, a

 Superseding Indictment was filed in Foster’s case.              See id. at

 26, PageID # 26; see also Crim. No. 13-00219 DKW, ECF No. 99,

 PageID # 239 (charging Foster, Garcia, and Nguyen with conspiring

 to commit drug crimes with Sheldon Koyanagi and Penitani).

             As of May 2014, Breiner still believed that he had no

 conflict of interest, reasoning that he no longer represented

 Foster and that Penitani was describing drug deals unrelated to

 the charges Breiner had represented Foster on.             Transcript of

 Proceedings (Nov. 29, 2017) at 28-29, ECF No. 306, PageID # 2119-

 20.

             Penitani testified against Foster in Foster’s trial.

 See Partial Transcript of Jury Trial (Dec. 11, 2014) at 93-130,

 Crim. No. 13-00219 HG, ECF No. 172, PageID #s 767-804; Partial

 Transcript of Jury Trial (Dec. 15, 2014) at 3-15, Crim. No. 13-

 00219 HG, ECF No. 173, PageID #s 808-20.            While testifying

 on December 11, 2014, Penitani noted that his attorney, Breiner’s

 colleague Nakamura, was present in court.            See Partial Transcript

 of Jury Trial at 130, Crim. No. 13-00219 HG, ECF No. 172, PageID

 # 804.    Foster’s first trial ended in a mistrial.            See Crim. No.


                                        10
Case 1:13-cr-00514-SOM    Document 316    Filed 03/13/18   Page 11 of 33 PageID.2399



 13-00219 HG, ECF No. 153.        Penitani also testified in Foster’s

 retrial before District Judge Derrick Watson.              See Transcript of

 Jury Trial (Feb. 18, 2015) at 61-112, Crim. No. 13-00219 DKW, ECF

 No. 229, PageID #s 2071-2122.

             Penitani did not sign a waiver of any conflict of

 interest by Breiner.       Transcript of Proceedings (Nov. 29, 2017)

 at 36, ECF No. 306, PageID # 2127.           Breiner could not recall

 whether he obtained a waiver from Foster.             Id. at 35, PageID

 # 2126.    Nakamura did not think a waiver had been obtained from

 Foster.    See Transcript of Proceedings (Nov. 28, 2017) at 144,

 ECF No. 305, PageID # 2067.        According to Penitani, Breiner never

 mentioned any conflict of interest and never asked him to sign a

 conflict waiver.        Transcript of Proceedings (Dec. 1, 2017) at 36-

 37, ECF No. 307, PageID # 2257-58.

             Breiner says that he disclosed to Penitani and AUSA

 Thomas that he had previously represented Foster.               Transcript of

 Proceedings (Nov. 29, 2017) at 53, ECF No. 306, PageID # 2144.

 Breiner says that, even if he had a conflict of interest, he did

 not act adversely to Penitani, as he shared nothing with Foster.

 Breiner notes that “Foster may have an issue,” given Breiner’s

 representation of Penitani when Penitani testified against

 Foster.    Id. at 50, PageID # 2141.

             On May 16, 2014, Penitani appeared before a magistrate

 judge and entered a guilty plea to the conspiracy charges in both


                                         11
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 12 of 33 PageID.2400



 of his criminal cases pursuant to a plea agreement.              See ECF Nos.

 79 (minutes of change of plea hearing in which Penitani pled

 guilty to Count 1 of the Indictment), 80 (Report and

 Recommendation Concerning Plea of Guilty), 82 (Memorandum of Plea

 Agreement), 181 (transcript of change of plea hearing); Crim. No.

 13-00653 SOM, ECF Nos. 179 (minutes of change of plea hearing in

 which Penitani entered guilty plea to Count 1 of the Superseding

 Indictment), 181 (Memorandum of Plea Agreement), 182 (Report and

 Recommendation Concerning Plea of Guilty), 443 (transcript of

 change of plea hearing).       On June 3, 2014, the district judge

 assigned to Penitani’s case accepted the Report and

 Recommendation and judged Penitani guilty of the charges.                 See

 Crim. No. 13-00514 SOM, ECF No. 87; Crim. No. 13-00653 SOM, ECF

 No. 575.

             A single Presentence Investigation Report (“PSR”) was

 prepared for both cases.       See Crim. No. 13-00514 SOM, ECF No.

 729.   The PSR calculated Penitani’s sentencing guideline range as

 360 months to life imprisonment.            Id.

             Penitani filed no objections to the PSR.            Breiner

 testified that Penitani instructed him to refrain from filing any

 objections out of concern that objections would alienate

 Government counsel and affect what sentence Government counsel

 recommended to the court.       Transcript of Proceedings (Nov. 29,

 2017) at 66-67, ECF No. 306, PageID # 2157-58.             Penitani, on the


                                        12
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 13 of 33 PageID.2401



 other hand, testified that Breiner told him not to worry about

 the PSR.    Transcript of Proceedings (Dec. 1, 2017) at 30, ECF No.

 307, PageID # 2251.      There is no direct evidence that Breiner’s

 prior representation of Foster affected the decision not to

 object to the PSR.      See Transcript of Proceedings (Nov. 28, 2017)

 at 157, ECF No. 305, PageID # 2080 (“Q: . . . were those

 decisions not to file objections to the presentence report

 affected by the representation of Mr. Foster?             A [by Lani

 Nakamura]: No.”).

             At the time of sentencing, the court had before it a

 record showing several reasons, including Penitani’s Foster-

 related assistance, supporting a below-guideline sentence.                The

 Government recommended a below-guideline sentence of 188 to 235

 months.    See ECF No. 152, PageID # 576.         Breiner, on behalf of

 Penitani, asked for a further reduction to 26 months.               See ECF

 No. 154, PageID # 580.      Breiner argued that Penitani certainly

 deserved a sentence of less than 10 years, see ECF No. 218-14

 ¶ 10, although, according to Breiner’s testimony in these § 2255

 proceedings, there was no agreement by the Government to any such

 sentence.    ECF No. 218-14 ¶¶ 15-16; Transcript of Proceedings

 (Nov. 29, 2017) at 79, ECF No. 306, PageID # 2170.              Breiner’s

 position on what the Government had represented has changed over

 time.    In a motion filed earlier seeking reconsideration of

 Penitani’s sentence, Breiner, through his associate, Nakamura,

 had argued that Penitani understood “that his testimony at grand


                                        13
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 14 of 33 PageID.2402



 jury and at trial would result in a sentence of imprisonment of

 less than 10 years. . . .       The Government acted in bad faith in

 misleading Defendant . . .       that the Government would recommend a

 sentence of less than 10 years.”            See ECF No. 165-1, PageID

 # 787.3   Nakamura explained that this argument was based on

 Penitani’s belief, even though counsel had no factual basis for

 that belief.     See Transcript of Proceedings (Nov. 28, 2017) at

 149-50, ECF No. 305, PageID # 2072-73.

             At his sentencing hearing, Penitani said he had

 reviewed the PSR and had no objections to it.             See Transcript of

 Proceedings (July 20, 2015) at 3, ECF No. 187, PageID # 935.

 Adopting and relying on the PSR, the court concluded that

 Penitani’s guideline range was 360 months to life, and that the

 statutory mandatory minimum sentence was 10 years, with a

 statutory maximum of life imprisonment.            Id. at 6, PageID # 938.

 The court noted that the guidelines suggested a five-year

 supervised release term and a $200 special assessment.               Id. at 7,

 PageID # 939.     Neither the Government nor the defense challenged

 these calculations.      Id.




       3
       Breiner had negotiated an agreement that the Government not
 charge Penitani with a violation of 18 U.S.C. § 924(c), which
 would have added a five-year consecutive sentence on top of what
 would be his drug sentence. Transcript of Proceedings (Nov. 28,
 2017) at 104, ECF No. 305, PageID # 2027.

                                        14
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 15 of 33 PageID.2403



             After arguments by both sides, the court sentenced

 Penitani to 168 months of imprisonment.           Id. at 36-37, PageID

 #s 968-69, 973.

             On August 7, 2015, Penitani appealed.              See ECF No. 166.

 Pamela O’Leary Tower, Esq., was appointed as Penitani’s appellate

 counsel.    See ECF No. 174.

             On July 25, 2016, the Ninth Circuit affirmed the

 judgment in a memorandum decision.          See ECF No. 193.       The Ninth

 Circuit noted that Penitani’s attorney had filed a brief pursuant

 to Anders v. California, 386 U.S. 738 (1967), indicating that

 there were no grounds for appellate relief.              Id., PageID # 992.

 After giving Penitani an opportunity to file a supplemental

 brief, which he did not file, the Ninth Circuit stated that it

 had independently reviewed the record and had determined that

 there were “no arguable grounds for relief.”             Id.    Noting that

 Penitani had waived his right to appeal his sentences, the Ninth

 Circuit dismissed the appeals.         Id., PageID #s 992-93.

             On August 8, 2016, Penitani, proceeding pro se, timely

 filed the present motions in both of his criminal cases pursuant

 to 28 U.S.C. § 2255.      See Crim. No. 13-00514 SOM, ECF No. 194;

 Crim No. 13-00653 SOM, ECF No. 489.          Before the expiration of the

 one-year limitation period, Penitani sent this court a letter in

 which he asked, “How can attorney Myles Breiner truly represent

 someone in a case 100% without bias if he’s representing someone


                                        15
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 16 of 33 PageID.2404



 who’s co-operating against them.”           ECF No. 209, PageID # 1141.

 Penitani explained, “I believe Myles S. Breiner represents at

 least 2 people involved in cases that involved me, as well as

 others who were debriefing against me.”           Id.    The court deems

 this letter to have supplemented Penitani’s § 2255 motions and

 determines that he timely raised the conflict issue.

 IV.         ANALYSIS.

             A federal prisoner may move to vacate, set aside, or

 correct his or her sentence if it “was imposed in violation of

 the Constitution or laws of the United States, . . . the court

 was without jurisdiction to impose such sentence, or . . . the

 sentence was in excess of the maximum authorized by law, or is

 otherwise subject to collateral attack.”            28 U.S.C. § 2255.

 While there are limits on the kinds of claims that can and cannot

 be raised in a § 2255 petition, these limits are not applicable

 to the present motions, which claim that Penitani’s counsel,

 Breiner, was ineffective in representing Penitani because of a

 conflict of interest arising out of Breiner’s representation of

 both Penitani and Foster and that the Government should have

 notified this court of that conflict of interest.              See ECF No.

 300.   Penitani’s “Sixth Amendment right to counsel encompasses a

 right to representation free from conflicts of interest.”               Hovey




                                        16
Case 1:13-cr-00514-SOM    Document 316    Filed 03/13/18    Page 17 of 33 PageID.2405



 v. Ayers, 458 F.3d 892, 907 (9th Cir. 2006) (quotation marks and

 citation omitted).

             A.    To Prevail on an Ineffective Assistance of Counsel
                   Claims Based on an Attorney’s Conflict of
                   Interest, a Petitioner Must Show More than the
                   Existence of a Conflict.

             To demonstrate ineffective assistance of counsel, a

 defendant must usually show that (1) his or her counsel’s

 performance was deficient, and (2) the deficient performance

 prejudiced his defense.        See Strickland v. Washington, 466 U.S.

 668, 687 (1984).        There is “a strong presumption” that counsel’s

 conduct was reasonable and that counsel’s representation did not

 fall below “an objective standard of reasonableness” under

 “prevailing professional norms.”             Id. at 688.    Even if a

 petitioner can overcome the presumption of effectiveness, the

 petitioner must still demonstrate a “reasonable probability that,

 but for counsel’s unprofessional errors, the result of the

 proceeding would have been different.”             Id. at 694.     Because

 “[i]t is all too tempting for a defendant to second-guess

 counsel’s assistance after conviction,” judicial scrutiny of

 counsel’s performance is highly deferential.               Id. at 689.

             The requirements for an ineffective assistance of

 counsel claim based on counsel’s alleged actual conflict of

 interest have been the subject of several cases that are

                                         17
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 18 of 33 PageID.2406



 controlling here.       See United States v. Walter-Eze, 869 F.3d 891,

 900 (9th Cir. 2017).      Because it is difficult to measure the

 precise effect on defense counsel’s representation when that

 representation is corrupted by conflicting interest, prejudice is

 presumed when “counsel actively represented conflicting interests

 and . . . an actual conflict of interest adversely affected [the]

 lawyer’s performance.”       Strickland, 466 U.S. at 692.

             The Supreme Court has explained:

             [A] defendant who shows that a conflict of
             interest actually affected the adequacy of
             his representation need not demonstrate
             prejudice in order to obtain relief. But
             until a defendant shows that his counsel
             actively represented conflicting interests,
             he has not established the constitutional
             predicate for his claim of ineffective
             assistance.

 Cuyler v. Sullivan, 446 U.S. 335, 349–50 (1980) (quotation marks

 and citation omitted).       However, the Supreme Court, in Mickens v.

 Taylor, 552 U.S. 162 (2002), made it clear that, while saying

 that a defendant “need not demonstrate prejudice,” it was not

 relieving the defendant of the need to show something more than

 the existence of a conflict.       The Court explained that an “actual

 conflict” for Sixth Amendment purposes is “a conflict of interest

 that adversely affects counsel’s performance.”             Id. at 172 n.5.




                                        18
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 19 of 33 PageID.2407



             The Ninth Circuit has stated, “Although a defendant who

 raises an effective assistance of counsel claim is ordinarily

 required to show prejudice, prejudice is presumed if the alleged

 violation is based on an actual conflict of interest.”               United

 States v. Miskinis, 966 F.2d 1263, 1268 (9th Cir. 1992) (citation

 omitted).    Penitani relies on Miskinis for the proposition that

 prejudice in this case should be presumed because Breiner had an

 “actual conflict” by virtue of his representation of Foster and

 Penitani.    See ECF No. 200, PageID # 1904, 1907-11; ECF No. 301-

 1, PageID # 2318.       But the Ninth Circuit has clarified that a

 defendant does not demonstrate ineffective assistance of counsel

 simply because he or she shows that counsel was burdened with a

 conflict of interest.       Prejudice is presumed upon a showing of an

 “actual conflict of interest,” which has been defined by the

 Supreme Court as “‘a conflict of interest that adversely affects

 counsel’s performance.’”       Hovey, 458 F.3d at 908 (quoting

 Mickens, 552 U.S. at 172 n.5).

             In other words, a defendant asserting an actual

 conflict has the benefit of a presumption of prejudice only upon

 showing that a negative consequence flowing from the conflict was

 at least likely, even if that negative consequence might not

 satisfy the ordinary prejudice burden.           An “actual conflict of



                                        19
Case 1:13-cr-00514-SOM    Document 316    Filed 03/13/18   Page 20 of 33 PageID.2408



 interest” must have “affected counsel’s performance--as opposed

 to [being] a mere theoretical division of loyalties.”

 Walter-Eze, 869 F.3d at 901 (quotation marks and citation

 omitted).    “The inquiry is accordingly fact specific and does not

 rely on the characterization or type of conflict presented: an

 actual conflict is defined by its impact on counsel’s

 representation.”        Id. (quotation marks and citation omitted).

             To establish an impact on counsel’s representation, a

 defendant must show “‘that some plausible alternative defense

 strategy or tactic might have been pursued but was not and that

 the alternative defense was inherently in conflict with or not

 undertaken due to the attorney’s other loyalties or interests.’”

 Id. (quoting United States v. Wells, 394 F.3d 725, 733 (9th Cir.

 2005)).    Counsel’s performance was adversely affected if “some

 effect on counsel’s handling of particular aspects of the trial

 was likely.”     Id. at 901. (quotation marks and citation omitted).

 This could include a counsel’s failure to put on certain defenses

 and witnesses, failure to explore the possibility of a plea

 agreement, or failure to seek a continuance.              Id.




                                         20
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 21 of 33 PageID.2409



             B.    Penitani Does Not Establish an Entitlement to
                   Relief Based on Breiner’s Concurrent or
                   Consecutive Representation of Both Foster and
                   Penitani.

             This court’s local rules provide: “Every member of the

 bar of this court . . . shall be governed by and shall observe

 the standards of professional and ethical conduct required of

 members of the Hawaii State Bar.”           Local Rule 83.3.     Attorneys

 practicing in the Hawaii state courts must comply with the Hawaii

 Rules of Professional Conduct.         See Rules of the Supreme Court of

 the State of Hawaii Rule 2.2(a) (“The Hawai`i Rules of

 Professional Conduct . . . shall govern the conduct of all

 attorneys subject to discipline under this rule.”).              In examining

 whether Breiner had a conflict of interest, this court therefore

 looks to the Hawaii Rules of Professional Conduct.

                   1.    Penitani Does Not Show that Breiner Violated
                         Rule 1.7(a) of the Hawaii Rules of
                         Professional Conduct by Concurrently
                         Representing Penitani and Foster.

             Breiner’s representation of Foster overlapped Breiner’s

 representation of Penitani for about 2½ months in 2013.

 Concurrent representation of clients is governed by Rule 1.7 of

 the Hawaii Rules of Professional Conduct, which states in

 relevant part:

             (a) Except as provided in paragraph (b), a
             lawyer shall not represent a client if the

                                        21
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 22 of 33 PageID.2410



             representation involves a concurrent conflict
             of interest. A concurrent conflict of
             interest exists if:

                  (1) the representation of one client
             will be directly adverse to another client;
             or

                  (2) there is a significant risk that the
             representation of one or more clients will be
             materially limited by the lawyer’s
             responsibilities to another client, a former
             client, or a third person, or by a personal
             interest of the lawyer.

             (b) Notwithstanding the existence of a
             concurrent conflict of interest under
             paragraph (a), a lawyer may represent a
             client if:

                  (1) the lawyer reasonably believes that
             the lawyer will be able to provide competent
             and diligent representation to each affected
             client;

                  (2) the representation is not prohibited
             by law;

                  (3) the representation does not involve
             the assertion of a claim by one client
             against another client represented by the
             lawyer in the same litigation or other
             proceeding before a tribunal; and

                  (4) each affected client gives consent
             after consultation, confirmed in writing.

 Haw. R. Prof. Conduct 1.7.4


       4
       The Hawaii Rules of Professional Conduct are taken from the
 American Bar Association’s Model Rules of Professional Conduct.
 Baham v. Ass'n of Apartment Owners of Opua Hale Patio Homes, 2014
 WL 413495, at *2 (D. Haw. Feb. 4, 2014). Although Penitani
 relies on Rule 1.7(a)(2) of the model rules, see ECF No. 300,

                                        22
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 23 of 33 PageID.2411



             Notably, Rule 1.7(b), which includes the requirement of

 written conflict waivers, applies only if there is a concurrent

 representation conflict under Rule 1.7(a).

             Breiner indisputably represented both Foster and

 Penitani with respect to drug crimes.           However, Penitani offers

 no evidence that, at the time of the concurrent representation,

 the representation of either was directly adverse to the other or

 that there was a significant risk that the representation of

 Penitani was materially limited by Breiner’s responsibility to

 Foster.    At the time of the concurrent representation, neither

 Breiner nor the Government had reason to think that the drugs in

 Foster’s case had anything to do with Penitani.             If there was a

 directly adverse representation or a significant risk that

 Breiner’s responsibility was materially limited, Penitani has not

 shown that.    Penitani similarly fails to show that AUSA Thomas

 should have informed the court about Breiner’s alleged concurrent

 representation conflict of interest.

             It was, of course, later discovered that Penitani had

 been supplying drugs to Foster, but Penitani must show more than

 that.    Penitani is required to show that this circumstance



 PageID # 1905, the court examines his argument under Rule
 1.7(a)(2) of the Hawaii Rules of Professional Conduct, which is
 identical to its model rules counterpart.

                                        23
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 24 of 33 PageID.2412



 created a significant risk that Breiner’s representation of

 Penitani would be materially limited by his representation of

 Foster.    But Breiner was not representing Foster by the time

 Breiner knew or should have known of the drug connection between

 Foster and Penitani.      Penitani gives this court no evidence that,

 at the time Breiner was representing both clients, there was a

 significant risk that his representation of either would be

 materially limited by his representation of the other.

                   2.    Penitani Does Not Establish a Right to Relief
                         Based on Breiner’s Alleged Violation of Rule
                         1.9(a) of the Hawaii Rules of Professional
                         Conduct, Governing Successive Representation.

             After Breiner withdrew as Foster’s counsel in August

 2013, Breiner continued to represent Penitani.             On October 1,

 2013, Breiner and the Government learned that Penitani had been

 supplying drugs to Foster.       A Superseding Indictment was filed in

 Foster’s case in May 2014.       Eventually, Penitani testified

 against Foster at his two trials, with Breiner representing

 Penitani.    Whether Breiner had a conflict of interest arising

 from these facts is governed by Rule 1.9(a) of the Hawaii Rules

 of Professional Conduct, which states:

             (a) A lawyer who has formerly represented a
             client in a matter shall not thereafter
             represent another person in the same or a
             substantially related matter in which that
             person’s interests are materially adverse to

                                        24
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 25 of 33 PageID.2413



             the interests of the former client unless the
             former client consents after consultation,
             and confirms in writing.

 Haw. R. Prof. Conduct 1.9.

             Comment 9 to Rule 1.9 states:

             The provisions of this Rule are for the
             protection of former clients and can be
             waived if the former client gives consent
             after consultation, the consent to be
             confirmed in writing under paragraphs (a) and
             (b). See Rule 1.0(c) of these Rules
             (defining consultation). A waiver is
             effective only if there is disclosure of the
             circumstances, including the lawyer's
             intended role on behalf of the new client.

 Haw. R. Prof. Conduct 1.9, cmt. 9.

             Penitani says “it is impossible to see how Mr. Breiner

 could be a zealous advocate for Mr. Penitani while maintaining

 the confidences obtained in his representation of Mr. Foster.”

 See ECF No. 255, PageID #s 1608-09.            No evidence was presented to

 this court indicating that Breiner did anything but zealously

 represent Penitani, and Penitani does not even hint at any

 confidence Breiner obtained in representing Foster that somehow

 affected Penitani.

             It is important to note that Rule 1.9(a) clearly speaks

 to protecting the former client.            If the consecutive

 representation violated Rule 1.9(a), that violation hurt Foster,

 not Penitani, who testified against Foster in both of Foster’s

                                        25
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 26 of 33 PageID.2414



 trials.    Whether Breiner violated Rule 1.9(a) with respect to

 Foster is not a matter before this court on the present motions.

 What is clear is Rule 1.9(a) does not support Penitani’s claim

 for relief.

                   3.    Even Assuming Breiner Had a Conflict of
                         Interest Under the Hawaii Rules of
                         Professional Conduct, Penitani Fails to
                         Demonstrate That Breiner Had an “Actual
                         Conflict” For Purposes of the Ineffective
                         Assistance of Counsel Analysis.

             As discussed above, it is not enough that Penitani

 demonstrate that his counsel had a conflict of interest for

 purposes of his ineffective assistance of counsel claim.

 Instead, even assuming that Breiner violated the Hawaii Rules of

 Professional Conduct, Penitani must show that the conflict of

 interest adversely affected Breiner’s performance with respect to

 Penitani.    Mickens, 552 U.S. at 172 n.5; Sullivan, 446 U.S. at

 349–50; Hovey, 458 F.3d at 908.         As the Ninth Circuit recently

 stated in Walter-Eze, 869 F.3d at 901, a defendant must show “a

 conflict that affected counsel’s performance--as opposed to a

 mere theoretical division of loyalties.”            Walter-Eze, 869 F.3d at

 901 (quotation marks and citation omitted).

             Penitani only shows a theoretical division of

 loyalties.    He does not show or even argue in his post-hearing

 briefs “‘that some plausible alternative defense strategy or

                                        26
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 27 of 33 PageID.2415



 tactic might have been pursued but was not and that the

 alternative defense was inherently in conflict with or not

 undertaken due to the attorney’s other loyalties or interests.’”

 Id. (quoting United States v. Wells, 394 F.3d 725, 733 (9th Cir.

 2005)).    Nor does he show the likelihood of “some effect” on

 Breiner’s handling of particular aspects going to Penitani’s

 conviction or sentence.      Id. at 901.

             Instead, citing Miskinis, 966 F.2d at 1268, Penitani

 asks the court to presume that Breiner’s conflict adversely

 affected his representation.       But even Miskinis stated,

 “To establish that a conflict of interest adversely affected

 counsel’s performance, the defendant need only show that some

 effect on counsel’s handling of particular aspects of the trial

 was likely.”     Id. (quotation marks and citation omitted).

 Penitani has made no showing that Breiner’s handling of anything

 was likely affected by his alleged conflict.

             At best, Penitani earlier argued that Breiner did not

 file objections to his presentence investigation report.               See ECF

 No. 194, PageID # 997.      However, Penitani himself told the court

 during his sentencing hearing that he had no objections to the

 presentence investigation report.           See Crim. No. 13-00514 SOM,

 ECF No. 187, PageID #s 936.       In his memorandum of July 7, 2017,



                                        27
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 28 of 33 PageID.2416



 Penitani also contended that Breiner failed to challenge the

 amount of drugs he was responsible for, the two-level increase

 for possession of a firearm, and a four-level increase for being

 a leader or organizer.      But Penitani fails to describe why the

 drug amount attributed to him was incorrect, or why he should not

 have received the enhancements for possession of a firearm and

 for being a leader or organizer.            In other words, it is not clear

 what bases Breiner should allegedly have advanced in aid of

 getting a more favorable guideline calculation.

             Penitani is similarly unpersuasive in arguing that

 Breiner “refused to file any motions to address issues of

 contradictory statements by agents.”            See ECF No. 194, PageID

 # 997.    Penitani provides no description of what motions Breiner

 should have filed.      The court has no way of determining whether

 any such motion would have been colorable.

             To the extent Penitani previously argued that Breiner

 failed to get certain agreements in writing or bargained away

 appellate rights, Penitani fails to show that either alleged

 failure was likely affected by the alleged conflict of interest.

 The claimed failure to get agreements in writing pertained to

 Penitani’s earlier claim that he expected to be sentenced to less




                                        28
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 29 of 33 PageID.2417



 than 10 years of imprisonment.         Nothing in the record suggests

 that Breiner could have gotten such a written agreement.

             In fact, there is considerable dispute about whether

 such an agreement existed at all.           See Transcript of Proceedings

 (Nov. 28, 2017) at 99, 148 ECF No. 305, PageID #s 2022, 2071;

 Transcript of Proceedings (Nov. 29, 2017) at 83, ECF No. 306,

 PageID # 2174.     Penitani was not credible in testifying that AUSA

 Thomas guaranteed a sentence of less than ten years.              See, e.g.,

 Transcript of Proceeding (Dec. 1, 2017) at 26-27, ECF No. 307,

 PageID #s 2247-48.

             First, the purported “guarantee” came in the form of

 AUSA Thomas’s alleged “kind of” nodding of his head in response

 to Penitani’s description of what Breiner had allegedly told him.

 It is not clear to this court what the alleged “kind of” nod

 signified.    Id. at 26, PageID # 2247 (Penitani testified, “So

 before I even debriefed, when I sat down with Chris Thomas, I

 asked him, I said, Hey, I was told by Myles that you were saying

 that I’m guaranteed less than ten years if I admit to these

 things on this paper.       And he sits back, he kind of nods.          And I

 look at Myles and I said, Myles, is that how it works?               He goes,

 Yeah.    It’s good.     I said, Okay.”).




                                        29
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 30 of 33 PageID.2418



             Second, a guarantee would have been a departure from

 Department of Justice protocol, made particularly unlikely by its

 alleged occurrence during a meeting at which the AUSA was

 observed not only by Penitani, but also by FBI agents and defense

 counsel.

             Third, the testimony by Breiner, AUSA Thomas, the

 agents, and defense counsel was that AUSA Thomas had not promised

 to recommend a sentence of less than ten years.             See, e.g.,

 Transcript of Proceedings (Nov. 29, 2017) at 79, ECF No. 306,

 PageID # 2170 (Breiner testifies that AUSA Thomas did not commit

 to any particular sentence); at 103, ECF No. 306, PageID # 2194

 (AUSA Thomas testifies that no particular sentence was conveyed

 to Penitani); Transcript of Proceedings (Nov. 28, 2017) at 22,

 ECF No. 305, PageID # 1945 (Special Agent Sze testifies that

 Penitani wanted to talk numbers but couldn’t be given “that kind

 of proposition”); at 45, PageID # 1968 (Special Agent Carney

 testifies that AUSA Thomas never promised a particular sentence);

 and at 148, PageID # 2071 (Nakamura testifies that AUSA Thomas

 did not promise that Penitani would get less than ten years).

             Fourth, it is by no means clear that this purported

 “guarantee” had anything to do with any conflict of interest.




                                        30
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 31 of 33 PageID.2419



             As noted earlier in this order, Penitani’s counsel has

 not been consistent on the issue of whether AUSA Thomas provided

 a guarantee.     Nakamura explained that she wrote the

 reconsideration motion that stated Penitani’s belief that he

 would be sentenced to less than ten years, but tha counsel had no

 factual basis supporting Penitani’s belief.              Id. at 149-50,

 PageID # 2072-73.       Critical here is whether there was any

 connection between Breiner’s repesentation of Foster and either

 this alleged guarantee or the failure to get it in writing.                Even

 Penitani testified that such agreements are not put in writing

 because their existence would make Penitani look bad when he was

 testifying against other people.            Id. at 27, PageID # 2248.      In

 short, Penitani does not show that any conflict of interest

 likely adversely affected Breiner’s actions with respect to any

 alleged guarantee or the lack of a written agreement.

             Without evidence tending to show that Breiner’s conduct

 was likely affected by the alleged conflict of interest, Penitani

 fails to show the requisite adverse effect on Breiner’s advocacy.

 Without such a showing, Penitani’s ineffective assistance of

 counsel claim based on Breiner’s alleged conflicts of interest

 fails.    For the same reasons, Penitani’s claim that he is




                                        31
Case 1:13-cr-00514-SOM   Document 316    Filed 03/13/18   Page 32 of 33 PageID.2420



 entitled to relief because the AUSA failed to tell this court

 about the conflict of interest also fails.

 V.          ORDER GRANTING CERTIFICATE OF APPEALABILITY.

             Because reasonable jurists might find the court’s

 assessment of the merits of Penitani’s claims debatable or wrong,

 the court grants Penitani a certificate of appealability with

 respect to his § 2255 motions.         See 28 U.S.C. § 2253(c)(2)

 (stating that a court shall issue a certificate of appealability

 “only if the applicant has made a substantial showing of the

 denial of a constitutional right”); Slack v. McDaniel, 529 U.S.

 473, 484 (2000).

 V.          CONCLUSION.

             For the reasons set forth above, the court denies

 Penitani’s Motions to Vacate, Set Aside, or Correct a Sentence by

 a Person in Federal Custody under 28 U.S.C. § 2255.              The court,




                                        32
Case 1:13-cr-00514-SOM     Document 316     Filed 03/13/18    Page 33 of 33 PageID.2421



 however, grants Penitani a certificate of appealability.                     The

 Clerk of Court is directed to enter judgment against Penitani and

 to close these § 2255 actions.

                     IT IS SO ORDERED.

                     DATED: Honolulu, Hawaii, March 13, 2018.




                                  /s/ Susan Oki Mollway
                                  Susan Oki Mollway
                                  United States District Judge



 United States of America v. Penitani, Cr. No. 13-00514 SOM (03); Cr. No. 13-00653 SOM
 (01); Civ. No. 16-00443 SOM/KJM; Civ. No. 16-00444 SOM/KJM; ORDER DENYING MOTION TO
 VACATE, SET ASIDE, OR CORRECT A SENTENCE BY A PERSON IN FEDERAL CUSTODY UNDER 28
 U.S.C. § 2255; ORDER GRANTING CERTIFICATE OF APPEALABILITY




                                           33
